Form 13PP
                                     UNITED STATES BANKRUPTCY COURT
                                          Northern District of California

In Re: Jeffrey E DeWeese                               Case No.: 19−30625

dba                                                    Chapter: 13
Jeffrey E DeWeese
 Debtor(s)


                                   ORDER RE: CHAPTER 13 PLAN PAYMENTS
                                   AND ADEQUATE PROTECTION PAYMENTS



  IT IS HEREBY ORDERED:


     1.     For Chapter 13 cases filed or converted to Chapter 13 on or after December 1, 2017, plan payments by
            the debtor to the trustee shall begin the 20th day of the month following the filing of the petition
            or conversion of the case.


     2.     Beginning the calendar month following the filing of the petition, the adequate protection payments
            required by 11 U.S.C. § 1326(a)(1)(C) and the proposed plan shall be paid by the trustee, not the debtor,
            to the creditor. Adequate protection payments will be paid once the claim holder has filed a proof of claim.


     3.     If an ongoing mortgage/contract installment payment on a claim classified in Class 1 first falls due after
            the petition is filed and during the first calendar month of the case, the debtor shall make that installment
            payment directly to the Class 1 claim holder. The debtor shall provide evidence of all such payments to
            the trustee at the meeting of creditors.


     4.     If an ongoing mortgage/contract installment payment on a claim classified in Class 1 first falls due after
            the petition is filed and during or after the second calendar month of the case, the trustee shall make that
            installment payment directly to the Class 1 claim holder.


     5.     On appropriate motion, and after notice and a hearing, this order may be modified by the court.




Clerk, U.S. Bankruptcy Court
450 Golden Gate Avenue, 18th Fl.
Mail Box 36099
San Francisco, CA 94102




Dated: 6/11/19                                       By the Court:


                                                     Hannah L. Blumenstiel
                                                     United States Bankruptcy Judge



                                                                                                 Revised February 1, 2018

      Case: 19-30625           Doc# 5      Filed: 06/11/19       Entered: 06/11/19 16:10:08           Page 1 of 1
